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                    UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA

 TAKANII D. BEATTY,                     :

                   Petitioner           :     CIVIL ACTION NO. 3:21-0405

             v.                         :          (JUDGE MANNION)

                                        :
 WARDEN CLAIR DOLL,
                                        :
                   Respondent
                                        :

                                    ORDER

        In accordance with this Court’s memorandum issued this same day, IT

IS HEREBY ORDERED THAT:

        1. The Respondent’s motion to dismiss as moot (Doc. 5) is
           GRANTED.

        2. The petition for writ of habeas corpus (Doc. 1) is DISMISSED as
           moot.

        3. The Clerk of Court is directed to CLOSE THIS CASE.




                                            s/ Malachy E. Mannion
                                            MALACHY E. MANNION
                                            United States District Judge

DATE: November 22, 2021
21-0405-01
